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                                UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

          Plaintiffs,

v.
                                                             Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

          Defendants.




           MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL
         THE NUMBER OF SUBSCRIBERS COX TERMINATED FOR VIOLATING ITS
                 ACCEPTABLE USE POLICY AND PAYMENT TERMS

             Plaintiffs submit this memorandum of law in support of their motion to compel discovery

     from Defendants Cox Communications, Inc. and CoxCom, LLC (collectively “Cox”).                    As

     explained below, Plaintiffs request an order compelling Cox to state the number of subscribers

     whose internet service it terminated each month from 2010 through 2014 for (i) violation of its

     Acceptable Use Policy, broken out by the provision of the Acceptable Use Policy violated, and (ii)

     failure to pay for service. Cox’s right and ability to terminate users, and decision to do so when it

     served its interests, is directly relevant to Plaintiffs’ claims.

                                               INTRODUCTION

             This action is brought by major record companies and music publishers against one of the

     nation’s largest internet service providers.        Plaintiffs allege that Cox is contributorily and

     vicariously liable for infringement of their copyrighted sound recordings and musical

     compositions. For years, copyright owners sent Cox notices, made under penalty of perjury,

     identifying specific Cox subscribers who were using Cox’s service to infringe.             But Cox
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deliberately turned a blind eye to that infringement and refused to take reasonable measures to

limit it—even after Cox became aware of particular customers engaging in specific, repeated acts

of infringement. Instead, Cox continued to provide Internet service to specific subscribers it knew

were using its service to infringe.

       Plaintiffs move to compel Cox to provide the number of subscribers it terminated for (i)

violations of its Acceptable Use Policy other than copyright infringement, such as spam and

hacking, and (ii) failure to pay for service. Cox claims to take spam, hacking and similar

misconduct seriously because it harms Cox’s network and customers. And it no doubt terminates

subscribers for not paying their bills. By contrast, Cox turned a blind eye to copyright infringement

it knew was occurring on its network and continued to provide Internet service to subscribers it

knew were using it to infringe. A comparison of how Cox responds to violations that potentially

hurt Cox, as opposed to the music industry, is highly probative of Cox’s liability and willfulness.

If Cox regularly terminated customers for spam, hacking or non-payment violations—while

continuing to provide service to and profit from infringing subscribers—that demonstrates Cox’s

right and ability to terminate service and control infringement on its network and willfulness in

turning a blind eye to infringement.

                                        BACKGROUND

       Cox maintains an Acceptable Use Policy that prohibits use of its network for certain

purposes, including, inter alia, hacking, spam, and intellectual property infringement. (DTX 140

at ¶¶ 2, 7, 11, attached as Ex. A.) “Violation of any term of this AUP may result in the immediate

suspension or termination of either your access to the Services and/or your Cox account.” Id. at

1. Cox also maintains a Subscriber Agreement that sets forth the terms and conditions pursuant to

which Cox agrees to provide internet service to subscribers. Id. at 4-10. Among other things, it




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requires subscribers “to pay all monthly fees” and provides that “Service may be terminated” if

payment is not received by the due date. Id. at 4.

         Against that backdrop, Plaintiffs seek discovery concerning Cox’s termination of service

for subscribers who violated its AUP and payment terms. Specifically, Interrogatory No. 6 seeks

the following:

         INTERROGATORY NO. 6: Identify the number of Subscribers You terminated
         for violation of your Acceptable Use Policy, broken out by the provision of the
         Acceptable Use Policy violated. For Subscribers terminated for violating more than
         one provision of the Acceptable Use Policy, organize Your response by grouping
         the provisions violated (i.e., X number of Subscribers terminated violating
         provisions A and B; Y number of Subscribers terminated violating provisions C
         and D).

         Cox initially refused to provide information responsive to this interrogatory on the basis of

relevance, breadth and burden. (Cox’s Responses and Objections to Plaintiffs’ First Set of

Interrogatories, attached as Ex. B.) It later agreed to provide the requested information but only

for copyright infringement. To satisfy that production, Cox relied on a BMG trial exhibit that

includes termination numbers for copyright infringement by month, for January 2010 through

February 2015. (PX 1610 at 24-27, attached as Ex. C.)1 Cox still refuses to produce information

concerning any other AUP violations.

         Additionally, Interrogatory No. 11 requests the following:

         INTERROGATORY NO. 11: State the number of Subscribers, per quarter and
         year from January 1, 2008 through December 31, 2014, whose internet service you
         terminated for failing to pay amounts owing on the Subscriber’s account.




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   Plaintiffs dispute that PX 1610 is confidential given its public use in the public BMG trial. Cox did not object to
the admission of PX 1610 or ask the Court to take steps to protect it from outright public disclosure. Cox has
nevertheless designated it as Highly Confidential—Attorneys’ Eyes Only under the Stipulated Protective Order (ECF
No. 58) and therefore Plaintiffs have filed the accompanying motion to seal. As explained in the seal motion, Plaintiffs
have challenged the designation of this and other BMG trial exhibits pursuant to the provisions of the Stipulated
Protective Order.


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       Cox refuses to provide any information responsive to this interrogatory on the basis of

relevance, breadth and burden. In subsequent discussions, Cox focused its objection on relevance.

       The parties are in active discussion concerning their respective discovery requests, have

exchanged numerous letters and discussed these and other issues by phone for many hours.

Though the parties’ discussions are ongoing, the issues set forth herein are ripe for consideration

by the Court.

                                         ARGUMENT

 I.    Termination of subscribers for other AUP violations and failure to pay for service is
       relevant to Cox’s right and ability to control infringement and willfulness.

       Cox’s handling of subscribers violating its AUP terms and payment policies is relevant to

Cox’s right and ability to control infringement and willfulness. Vicarious infringement requires a

showing that Cox had the right and ability to supervise the infringing activity. BMG Rights Mgmt.

(US) LLC V. Cox Commc’ns, Inc., 199 F. Supp. 3d 958, 992 (E.D.V.A. 2016), aff’d in part, rev’d

in part, 881 f.3d 293 (4th Cir. 2018). Infringement is willful if done knowingly, with willful

blindness or with reckless disregard. BMG Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc., 881

F.3d 293, 312–13 (4th Cir. 2018).

       In determining whether a defendant had the right and ability to control infringing activity,

courts look to whether the defendant could and did take action against violations of its policies,

including those that are not related to infringement. See Arista Records, Inc. v. Usenet, 633 F.

Supp. 2d 124, 157 (S.D.N.Y. 2009) (the ability to block users for “any reason whatsoever” is

“evidence of the right and ability to supervise” infringing activities) (internal quotes omitted);

Arista Records, Inc. v. MP3Board, Inc., No. 00 CIV. 4660 (SHS), 2002 WL 1997918, at *11

(S.D.N.Y. Aug. 29, 2002) (same).




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        In Arista Records, Inc. v. Usenet, the court held that Usenet (a file distribution service) had

the right and ability to control its users’ infringing activity, based on its actions against violations

of various other policies. 633 F.Supp.2d at 157. The Usenet court relied on the fact that the

defendant had the functionalities to limit questionable conduct—and actually did so by

“terminating or limiting access of subscribers who posted ‘spam’,” “restricting download speeds

for subscribers who downloaded what they considered a disproportionate volume of content,” and

“taking measures to restrict users from posting or downloading articles containing pornography[.]”

Id. at 157. This led the court to conclude that Usenet could have but “never used the same filtering

capabilities to search for, limit or eliminate infringement on their service[,]” despite their

“unfettered ability to control access” and “total dominion” over their service’s content. Id. at 153,

157.

        Similarly, in Arista Records, Inc. v. MP3Board, Inc., the court determined that the

MP3Board (a website operator) could have but failed to control infringing activity, based on the

its actions against its subscribers for other policy violations. 2002 WL 1997918, at *11. The court

noted that MP3Board “had stated a policy of restricting users from posting certain types of links,

such as those linking to pornography, hate, and hacker and ‘warez’ (illegally copied and distributed

commercial software) sites” and “did in fact remove offending links from the site and banned

repeat offenders of MP3Board’s rules from posting any additional links.” Id. From this, the court

concluded that MP3Board also “had the right and ability to remove links to infringing works and

bar the participation of users who transmitted those infringing files.” Id. (citing A&M Records,

Inc. v. Napster, Inc., 239 F.3d 1004, 1024 (9th Cir. 2001)).

        Both Usenet and MP3Board show that courts find a direct correlation between (i) a

defendant’s ability to control (and actual control of) its users’ violations of other terms or policies,




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and (ii) its right and ability to control its users’ infringing activities. Thus, if Cox regularly

terminated the accounts of subscribers engaged in spam, hacking, non-payment or other

misconduct as it had the right to pursuant to its terms, then it could have done the same for

subscribers it knew repeatedly infringed copyrights.

       Cox’s termination of subscribers’ accounts for other AUP violations and non-payment is

also relevant to willfulness and would demonstrate to a jury the extent to which Cox turned a blind

eye to infringement. Beyond a few token subscribers, Cox did not terminate repeat infringers.

(See PX 1610 at 23-27.) By contrast, Cox claims that it took seriously other AUP violations that

it deemed harmful to its network, including spam and hacking. And Plaintiffs have no doubt that

Cox regularly terminated subscribers for non-payment of service. Cox’s Manager of Customer

Safety and Abuse Operations, Jason Zabek, drew a distinction between spam and hacking as

harmful to Cox’s network and customers, and copyright infringement that merely injures copyright

holders.

               Q: Let me ask it this way: Why were you making a distinction between
               DMCA violations and all the other violations?

               A: Spammers and hackers pose a great risk to our network and our
               customers, especially their data, their identities, credit cards, Social Security
               numbers, everything, which can be incredibly devastating if you have some
               type of malware on the computer. It’s incredibly horrific when that does
               happen. And these folks, once we can lay proof onto them, we don’t want
               to give them another chance on the network, as they affect so many -- can
               affect so many lives. It can be very devastating.
               ...

               Q: Do you think alleged copyright infringement hurts anyone other than
               the network? outside of the network?

               A: Can you be clearer on what you mean by “hurt”?

               Q: “Hurt”: causes injury; damages someone.

               A: Yes.



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                    Q: Who?

                    A: The copyright holder.

  (PX 5003 at 208:11-209:05, attached as Ex. D.)2 In other words, when use violations damage

  Cox’s network or customers, Cox took it seriously. But when it knew about hundreds of thousands

  of instances of its subscribers stealing from Plaintiffs, it wagged its finger and issued fake

  terminations. When considering Cox’s willfulness, a jury should be able to compare the number

  of subscribers Cox terminated for copyright infringement against the number of subscribers it

  terminated for other AUP violations and failure to pay for service.

                                                   CONCLUSION

           For the reasons stated above, Plaintiffs respectfully request an order compelling Cox to

  state the number of subscribers whose internet service it terminated each month from 2010 through

  2014 for (i) violation of its Acceptable Use Policy, broken out by the provision of the Acceptable

  Use Policy violated, and (ii) failure to pay for service. Given that Cox provided a month-by-month

  chart of terminations for copyright infringement (PX 1610), Cox should be required to produce

  the information requested here in the same monthly format for other terminations so a jury can

  reasonably compare Cox’s approach to these different policy violations.

                                                                              Respectfully Submitted,

Dated January 18, 2019                                                        /s/ Scott A. Zebrak /
                                                                              Scott A. Zebrak (38729)
                                                                              Matthew J. Oppenheim (pro hac vice)
                                                                              Jeffrey M. Gould (pro hac vice)
                                                                              OPPENHEIM + ZEBRAK, LLP
                                                                              4530 Wisconsin Avenue, NW, 5th Floor

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             Plaintiffs dispute the confidentiality of PX 5003 but, like PX 1610, have sought to file it under seal because
  Cox designated it as Confidential under the Stipulated Protective Order. PX 5003 is a copy of Mr. Zabek’s designated
  trial testimony. It was played in open court by video. According to the trial transcript, Cox took no steps during the
  proceeding to protect as confidential the information in his designated testimony.



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